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lN THE UNITED STATES DISTRICT COUR"Q}S AUG ,
FOR THE WESTERN DISTRICT OF TENNESSEE 2 PH 3-' 30
EASTERN DIVISION “ ` -

~~\§G\D.c.

  

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KENNETH RAY BRASHER, 11
Plaintiff, §
VS. § No. 04-2774-T/P
HENDERSON COUNTY, ET AL., §
Defendants. §

 

ORDER DIRECTING CORRECTION OF THE DOCKET
AND
ORDER FOR PLAINTIFF TO GIVE NOTICE

 

PlaintiffKenneth Ray Brasher, Tennessee Department of Correction prisoner number
252]63, Who is currently incarcerated at the Haywood County Jail in Brownsville,
Tennessee, filed a pro se complaint pursuant to 42 U.S.C. § 1983 in the Western Division
of this district on September 27, 2004 in connection With his previous confinement at the
Henderson County Jail (°‘Jail”). Plaintit`f also filed an in forma pauperis affidavit and a
motion for appointment ofcounsel. On November 30, 2004, the Clerk of Court docketed
a letter from the plaintiff suggesting that the case should be transferred to the Eastern
Division of this district The Clerk docketed another letter from the plaintiff on January 13,
2005 inquiring about the status of the case. District Judge J. Daniel Breen issued an order

on January 24, 2005 transferring the case to this division.

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with Flule 58 and;or 79 (a) FHCp ln compliance

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On l\/larch 7, 2005, plaintiff filed a notice of change of address in another case that
he filed in this division, Brasher v. I-Ienderson Countv` et al.1 No. 04-1271 (W.D. Tenn.
dismissed May 3, 2005). Plaintiff did not, however, file a similar notice in this case.
Therefore, the Clerk is directed to modify the docket in this case to reflect the change of
address plaintiff filed in No. 04-1271.

On .lune lO, 2005 , plaintiff filed a document, entitled “Notifycation [sic],” advising
that he is unable to afford copies, stamps, paper, and pens and stating that “[i]f there is any
justic [sic] in this case it will come by the hands ofGod.” This document suggests, but does
not explicitly state, that he wishes to voluntarily dismiss this lawsuit. Accordingly, the
plaintiff is ORDERED to notify the Court, in writing, within 30 days after the entry of this
order, whether he intends to pursue this lawsuit. The plaintiff should be aware that, even
if he voluntarily dismisses the case, the Court is still required to assess the civil filing fee,
which accrues as soon as a case is filed. Failure timely to comply with this order Will result
in the dismissal of this action without prejudice, pursuant to Fed. R. Civ. P. 41 (b), for failure
to prosecute

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uNiT D srATEs DisrRiCr JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:04-CV-02774 was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

Kenneth Ray Brasher
Haywood County Jail
410 Highvvay 70 East
Brovvnsville, TN 38012

Honorable .l ames Todd
US DISTRICT COURT

